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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        TRIC TOOLS, INC.,
                                   7                                                       Case No. 12-cv-03490-JST
                                                          Plaintiff,
                                   8                                                       MINUTE ORDER NOTING DISMISSAL
                                                v.
                                   9                                                       Re: ECF No. 129
                                        TT TECHNOLOGIES, INC, et al.,
                                  10
                                                          Defendants.
                                  11

                                  12          The parties have filed a stipulation of dismissal dated April 14, 2015, stating that they have
Northern District of California
 United States District Court




                                  13   agreed to a settlement of this action. ECF No. 129. Because the stipulation is signed by all parties

                                  14   who have appeared, it is effective without court order pursuant to Federal Rule of Civil Procedure

                                  15   41(a)(1)(A)(ii).

                                  16          This case has been dismissed with prejudice. The Clerk shall close the file.

                                  17          IT IS SO ORDERED.

                                  18   Dated: April 14, 2015
                                                                                       ______________________________________
                                  19
                                                                                                     JON S. TIGAR
                                  20                                                           United States District Judge

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